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                     UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,
         Plaintiff,
    v.                                   CRIMINAL ACTION NO.: 1:22CR23
                                         (Judge Kleeh)

ELI VILLERS,
          Defendant.


             DEFENDANT’S MOTION FOR RELEASE FROM
        CUSTODY FOR IN-PATIENT SUBSTANCE ABUSE TREATMENT

       The Defendant, Eli Villers, through counsel, Assistant Federal Public Defender

Hilary L. Godwin, respectfully moves this Honorable Court, pursuant to Rule 46 of the

Federal Rules of Criminal Procedure and Title 18 U.S.C. Section 3143, to order defendant’s

release from custody for the purpose of attending in-patient substance abuse treatment. In

support of this motion, undersigned counsel state as follows:

       1.    Mr. Villers is named in a three-count indictment returned in this Court on

March 1, 2022. He is charged with conspiracy to commit bribery of public official and

bribery of a public official.

       2.     Defendant suffers from a serious addiction to alcohol and would benefit greatly

by receipt of in-patient substance abuse treatment. Our office has secured bed space for the

defendant at Anchor Point located in Logan County, West Virginia, an acceptance letter is

attached. This is a 28-day in-patient substance abuse treatment program. Mr. Villers will

need to report to the program before 2:00 pm on April 4, 2022, and would need to have a


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 negative Covid screen within 24 hours of his admission.

       3. Undersigned conferred with AUSA Brandon S. Flower who advised that he does

not object to this motion.

       Should the Court grant defendant’s motion, his transportation from custody to Anchor

Point would be provided by Federal Public Defender Staff.


                                          Respectfully submitted,
                                          Eli Villers
                                          By Counsel

By:    /s/ Hilary Godwin
       Hilary Godwin
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                          CERTIFICATION OF SERVICE

      I hereby certify that on March 16, 2022, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to

the following:

                                 Brandon Flower AUSA
                           U.S. Attorney's Office - Clarksburg
                                320 W. Pike St. Suite 300
                                 Clarksburg, WV 26301




By:   s/ Hilary Godwin
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